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Pursuant to Charleston City Code, Article III. Demonstrations, Sections 25-36, et seq., the
application for a demonstration permit you filed for April 5, 2025 has been granted in part, and
denied in part. An alternate date, time, and location for the denied portion of your permit was
selected and returned for consideration.

Please refer to the demonstration permit section of the Charleston City Code, which can be
found at:
https://library.municode.com/sc/charleston/codes/code_of_ordinances?nodeId=CICO_CH19MOVETR_A
RTIXPA_DIV2PE

The following portions of your application have been approved:
Time: 1:00 p.m. to 4:00 p.m.
Estimated number of attendees: 150 participants per shift\Two shifts of 90 minutes each.

The following portions have been denied, for the reasons set forth below. Should you wish to
appeal the denial, please refer to Charleston City Code, Section 25-45.

Date: April 5, 2025
Location: Public right of way at 900 Island Park Drive, along River Landing Drive.
Utilization of a 10x10 tent. (See page 2, City Code 25-51, #8)

Reason for denial: Pursuant to Charleston City Code Sections 25-53(a) and (b), the chief of
police has the authority to restrict First Amendment demonstrations to certain areas if
conditions present a potential harm to public safety and make reasonable adjustments to the
time and location of a First Amendment demonstration when it is in the best interest of the
public health, safety and welfare of the city and its citizens. Pursuant to Charleston City Code
Sections 25-44 (2) the chief shall issue a permit only if he finds that the demonstration will not
require the diversion of so great a number of police officers as to prevent normal police
protection. The requested demonstration will require a number of Charleston Police Officers to
ensure the safety of all participants as well as the general public which are not available on the
date requested due to other events occurring on that same date in the City (Cooper River
Bridge Run and Credit One Charleston Open). The location requested will not safely
accommodate the number of participants expected given the proximity to congested roadways
and lack of barriers between participants and the roadway which poses a public safety concern
for participants. Use of a tent should be requested and authorized by the City of Charleston
Special Events Committee.

Pursuant to Charleston City Code Sections 25-40 the city reserves the right to require a person
seeking a First Amendment demonstration permit to obtain a special events permit issued
pursuant to section 2-189 when the duration of the demonstration is proposed to be more
than three (3) hours, when a request is made to reserve a particular public area for use, when
frequent requests are made for a particular public area, when the demonstration will require
any use of city resources, staffing or departments beyond the scope of the police department,


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and when the city finds that requiring such special events permit is in the best interest of the
public health, safety, and welfare of the city and its citizens.

Pursuant to Section 25-47 of the Charleston City Code, the chief of police, in denying an
application for a demonstration permit, shall be empowered to authorize the conduct of the
demonstration on a day, at a time, or over a route different from that named by the applicant.
The following alternate time and location is authorized:

Location Alternate: Public parking spaces (map attached) in yellow, across from 895 Island
Park Drive, Charleston, SC 29492
Date Alternate: April 12, 2025.

Pursuant to Charleston City Code, Section 25-51, a permittee shall comply with all permit
directions and conditions and with all applicable laws and ordinances. Additional conditions are
as follows:
1) While at the alternate location, group must remain in designated area (see attached map).
2.) Event begins at 1:00 p.m. and concludes at 4:00 p.m.
3.) No open carry or display of deadly weapons, including firearms.
4.) No climbing on, standing on, or manipulation of monuments or structures.
5,) No attaching or hanging of signs or coverings on monuments or structures.
6.) No vandalism, defacing, or destruction of monument.
7.) Flags must be controlled in a manner not to impede pedestrian or vehicle traffic or held in a
manner to intimidate or threaten individuals.
8.) No setup of tables, chairs, tents, or other equipment.
9.) Permit holder must remain on site.

Pursuant to Charleston City Code, Section 25-39, any person engaging in a demonstration for
which a demonstration permit has been issued shall not violate any of the conditions or
provisions of such permit.

Pursuant to Charleston City Code, Section 1-16, violation of City ordinances may result in a fine
not exceeding five hundred dollars ($500.00) or a service of a term not exceeding thirty (30)
days in jail, or both. The chief of police shall have the authority to revoke a demonstration
permit upon the violation of the standards of issuance as set forth in the Charleston City Code.
(Section 25-49).

Pursuant to Charleston City Code, Section 25-4 7, a written notice of acceptance of the
alternate permit is required prior to issuance of a demonstration permit. As applicant, I hereby
agree to the alternative location as authorized above and agree to all permit directions and
conditions, the provisions of the original application, and all applicable laws and ordinances.
(Charleston City Code, Section 25-51).

_____________________________                                      _______________
Applicant Signature                                                Date

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Designated area for Demonstration on April 12 (area highlighted in yellow):




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